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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                                            CASE NO. 24-cv-60161-CIV-DIMITROULEAS

  WHERE’S EILEEN, LLC, MARK J.
  FISCHER, and EILEEN FISCHER,

           Plaintiffs,

  vs.

  ACE AMERICAN INSURANCE COMPANY,

        Defendant.
  ___________________________________/


      ORDER ADOPTING AND APPROVING REPORT AND RECOMMENDATION OF
            MAGISTRATE JUDGE; GRANTING DEFENDANT’S MOTION
                    TO STAY AND COMPEL ARBITRATION


           THIS CAUSE is before the Court upon Defendant Ace American Insurance Company’s

  Motion to Compel Arbitration, filed February 29, 2024 [DE 11] and the August 27, 2024 Report

  and Recommendation of Magistrate Judge Patrick M. Hunt (the “Report”) [DE 24]. The Court

  notes that no objections to the Report [DE 21] have been filed, and the time for filing such

  objections has passed. 1 As no timely objections were filed, the Magistrate Judge’s factual

  findings in the Report [DE 24] are hereby adopted and deemed incorporated into this opinion.

  LoConte v. Dugger, 847 F.2d 745, 749-50 (11th Cir. 1988), cert. denied, 488 U.S. 958 (1988);

  RTC v. Hallmark Builders, Inc., 996 F.2d 1144, 1149 (11th Cir. 1993).

           Although no timely objections were filed, the Court has conducted a de novo review of




  1
    To the extent Defendant’s “Conditional Objection to the Report and Recommendation” constitutes an objection to
  the Report, it was confined to the narrow circumstances in which Plaintiff filed a timely objection to the Report, or
  in which this Court did not adopt the Report. Because neither circumstance exists here, Defendant’s objection is
  moot.
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  the Report [DE 24] and record and is otherwise fully advised in the premises. The Court agrees

  with the Magistrate Judge’s analysis and conclusions.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. The Report [DE 24] is hereby ADOPTED and APPROVED;

         2. Defendant Ace American Insurance Company’s Motion to Compel Arbitration [DE

             11] is hereby GRANTED as follows:

                a. Plaintiffs Where’s Eileen, LLC, Eileen Fisher, and Mark Fisher are hereby

                    COMPELLED to arbitrate their claims against Defendant Ace American

                    Insurance Company.

                b. This case is STAYED pending arbitration.

                c. The Clerk is DIRECTED to ADMINISTRATIVELY CLOSE this case and

                    DENY AS MOOT any pending motions.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 5th day of September 2024.




   Copies to:
   Counsel of record
